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AO91 (Rev. 8/01) Criminal Complaint

                                     UNITED STATES DISTRICT COURT
                      SOUTHERN                                DISTRICT OF                                       TEXAS

       UNITED STATES OF AMERICA                                                 CRIMINAL COMPLAINT
                               V.
                Javier OLVERA-Ramirez                                           Case Number: L-13-PO10859




                (Name and Address of Defendant)



           I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about           August 03, 2013          in                    Webb                 County, in
the        Southern        District of       Texas          Javier OLVERA-Ramirez                            defendant(s),
an alien, did unlawfully enter and attempt to enter the United States at a place other than designated by immigration officer




in violation of Title(s)                8              United States Code, Section(s)                     1325(a)(1)
I further state that I am a(n)               Border Patrol Agent                         and that this complaint is based on the
following facts: Based on statements of the accused and records of the U.S. Department of Homeland Security.
Furthermore, it is based on verbal statements by, Javier OLVERA-Ramirez, who admitted to being a citizen of Mexico, who
entered or attempted to enter illegally into the United States by wading the Rio Grande River near, Laredo, Texas, thus avoiding
immigration inspection, nor having proper documents to enter, travel through, or remain in the United States. This illegal entry
or attempted entry took place on August 3, 2013




Continued on the attached sheet and made a part of this complaint:                  Yes             No


                                                                                                                /S/
                                                                                Signature of Complainant

                                                                                Vonda Montgomery
                                                                                Printed Name of Complainant

Sworn to before me and signed in my presence,

August 06, 2013                                                          at     Laredo, Texas
Date                                                                            City and State


Guillermo Garcia                            , U.S. Magistrate Judge
Name and Title of Judicial Officer                                              Signature of Judicial Officer
